 Case 6:21-cv-03946-RRS-PJH Document 28 Filed 02/17/22 Page 1 of 1 PageID #: 196

                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION


GEORGE K HENAGAN                                        CASE NO. 6:21-CV-03946

VERSUS                                                  JUDGE ROBERT R. SUMMERHAYS

CITY OF LAFAYETTE ET AL                                 MAGISTRATE JUDGE PATRICK J.
                                                        HANNA


                                     NOTICE OF MOTION SETTING

       Please take notice that the Motion to Dismiss 12(b)(6) (Document Nos. 25 & 26) filed by Lafayette
City-Parish Consolidated Government and Gregory J Logan on February 16, 2022 has been referred to
Honorable Patrick J. Hanna for Report and Recommendation.

                                                   Deadlines

        Any response to said motion is due within twenty-one (21) days after service of the motion (see LR
7.5). The movant may file a reply within seven calendar (7) days after the memorandum in opposition is
filed. LR 7.8 governs the length of the memoranda. OPPOSITION TO THE MOTION MUST BE FILED
TIMELY OR THE MOTION WILL BE CONSIDERED UNOPPOSED.

                                              No Oral Argument
       It is the policy of the Court to decide motions on the basis of the record without oral argument.
Therefore, briefs should fully address all pertinent issues. All parties will be notified if the Court finds oral
argument is necessary. A written ruling will be issued in due course.

                                        Courtesy Copies Not Required

        The parties are relieved of their obligation under LR 7.1 to provide chambers with courtesy copy of
the briefs and any attachments filed in connection with this motion.


DATE OF NOTICE: February 17, 2022

                                              TONY R. MOORE
                                              CLERK OF COURT
